                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR04-4118-MWB
 vs.                                           REPORT AND RECOMMENDATION
                                                   ON MOTION TO DISMISS
 JOSE ORTIZ-MARTINEZ, aka Jose
 Antonio Arellano,
                Defendant.
                                  ____________________


         This matter is before the court on the Motion to Dismiss (Doc. No. 27) filed by
the defendant Jose Ortiz-Martinez (“Ortiz”).   (See also Doc. No. 37)     The plaintiff (the
“Government”) has resisted the motion. (Doc. No. 32) Pursuant to the trial scheduling
order filed December 30, 2004 (Doc. No. 14), motions to dismiss were assigned to the
undersigned United States Magistrate Judge for review, and the issuance of a report and
recommended disposition.     Accordingly, the court held a hearing on the motion on
March 3, 2005.       Ortiz appeared at the hearing with his attorney, Robert Lengeling.
Assistant U.S. Attorney John Lammers appeared on behalf of the Government.
         Ortiz offered the testimony of Task Force Officer Dane Wagner.      The following
exhibits were admitted into evidence: Gov’t Ex. 1 -- DVD of a post-arrest interview with
Ortiz by Task Force Officers (located in Clerk’s file); Gov’t Ex. 2 – court documents
from Case No. FECR052863, Iowa District Court for Woodbury County, Iowa, in State
v. Ortiz-Martinez (15 pages) (attached to Doc. No. 32); and Def. Ex. A – INS Notice
of Reinstatement of deportation order re Ortiz, dated 12/15/2004 (1 page) (attached to
Doc. No. 27).



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       The court finds the motion has been fully submitted and is ready for decision.


                                FACTUAL BACKGROUND
       Two events form the basis of Ortiz’s motion.        First, he initially claimed that he
was frightened at the time of his arrest on November 10, 2004, and, as a result, he
defecated in his pants. He claimed he was not allowed to clean himself up and was forced
to participate in an interview with Task Force officers in his soiled clothing.              This
particular claim was withdrawn after Ortiz’s attorney had the opportunity to review Gov’t
Ex. 1, a video recording of the interview with Ortiz.         (See Doc. No. 37)         The video
clearly shows that after Ortiz was taken to the police station, his pockets were searched
and then he was taken immediately to a bathroom and allowed to clean himself up. Later,
close to the end of his interview with the officers, Ortiz mentioned that he had a change
of clothes in his car, and officers retrieved the clean clothing and allowed him to change
his clothes.   The court finds no merit Ortiz’s claim that he was forced to participate in
an interview without being allowed to clean himself up.
       Ortiz’s second claim concerns his alleged belief, based on statements made by TFO
Wagner, that he had been charged in federal court, and his claim that his rights were
violated because he was not brought before a federal magistrate judge for initial
appearance until December 30, 2004.          The videotape of Ortiz’s interview with the
officers reveals that TFO Wagner stated the following at the beginning of his interview
with Ortiz (TFO Sassman also was present):
       TFO WAGNER:           We’re with the Task Force, okay, we’re with the federal
                             government, work for the DEA, all right, just so you have a
                             good kind of background on us. All right, and we’re over
                             here because of the fact, obviously, because something went
                             down this morning, all right?


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  ORTIZ:           Uh-huh.
  TFO WAGNER:      You understand English really well?
  ORTIZ:           Uh, well (gestures) --
  TFO WAGNER:      Good enough?
  ORTIZ:           Yeah.
  TFO WAGNER:      Okay, if you have any questions about what I’m saying, ask
                   me.
  ORTIZ:           Uh-huh.
  TFO WAGNER:      Okay? Just throw it out and say you don’t understand and
                   we’ll go from there. Okay?
  ORTIZ:           [Grunts assent.]
  TFO WAGNER:      Why we’re here is, obviously, shit went down this morning,
                   okay?
  ORTIZ:           Huh?
  TFO WAGNER:      We’re here because you’re in trouble this morning.
  ORTIZ:           Uh-huh.
  TFO WAGNER:      All right? And we get called up because of the fact that
                   you’re in trouble, number one, --
  ORTIZ:           Uh-huh.

  TFO WAGNER:      -- but we’ve got to give you an opportunity to make things
                   right, to square things up.
  ORTIZ:           What kind of opportunity?
  TFO WAGNER:      Well, I’ll get to that, and that’s gonna be – that’s gonna be on
                   you. But before we get to that, before we get too far into it,
                   let me read you your rights, okay? After I’ve read you your
                   rights, you’ve got to make a decision as to whether you want
                   to talk to us or not and all, and that’s going to be all on you.
                   And just, before you make any decisions and that, I want to
                   make it clear to you that I’m going to give you an opportunity

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                             to tell your story, but in the federal system, the way it works
                             is you’re -- you’ve got federal-level drug charges you’re
                             facing right now, okay? And the way the federal system
                             works is through cooperation, the only – the only way that
                             you’re going to get your sentence looked at at all is through
                             some type of cooperation with the Government, okay? So if
                             you get X amount of years in federal prison for dealing drugs,
                             you’re going to do X amount of years, okay? If you cooperate
                             with the Government, X amount of years can go down. Are
                             you catching what I’m saying?
       ORTIZ:                Yeah.
       TFO WAGNER:           Okay. Let me read you your rights and then we’ll talk some
                             more about it, all right?
(Gov’t Ex. 1, time index 09:31:11 to 09:32:58)
       TFO Wagner testified he was in error if he led Ortiz to believe federal charges
already had been filed against him, or even would be filed against him. He stated he did
not know where charges would be filed, or if they would be filed, against Ortiz.
       Ortiz did not testify at the hearing, but his attorney argued Ortiz believed, based
on TFO Wagner’s statements, that he either was being charged or had been charged with
a drug crime in federal court.    He claims that because his arrest was federal in nature
from the beginning, the provisions of Rule 5, Federal Rules of Criminal Procedure,
should have been triggered and he should have been brought before a federal magistrate
judge immediately.    Instead, the evidence indicates the following chronology of events
took place:
       11/10/04      Ortiz was arrested
       11/10/04      Ortiz was charged by criminal complaint with violations of State law
                     (see Gov’t Ex. 2, p. 1)
       11/11/04      Ortiz had an initial appearance in State court (see id., p. 6)


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      11/18/94      A Trial Information was filed in Woodbury County, charging Ortiz
                    with violations of State law (see id., p. 7)
      12/03/04      Ortiz signed a written arraignment and plea of not guilty to the State
                    charges (see id., pp. 9-10)
      12/09/04      Ortiz was charged by Indictment with violations of federal law (see
                    Doc. No. 1)
      12/10/04      Ortiz was arraigned on the State charges in person in Woodbury
                    County, and he asked for appointment of an attorney to represent
                    him (see id., p. 11)
      12/15/04      INS filed a Notice of Intent/Decision to Reinstate Prior Order,
                    evidencing its intent to reinstate a deportation order entered against
                    Ortiz on 01/13/04 (see Gov’t Ex. 3)
      12/29/04      Woodbury County dismissed the State charges against Ortiz (see
                    Gov’t Ex. 2, p. 15)
      12/29/04      Ortiz was transferred to federal custody
      12/30/04      Ortiz appeared in federal court (see Doc. No. 13)
      Ortiz’s attorney argues Ortiz was only charged in Iowa state court “to allow the
Task Force more time to build a case.” (Doc. No. 27-2, Brief, at 4) He claims Ortiz
was arrested with the intent of charging him in federal court, and the 51-day delay from
his arrest to the time of his initial appearance in federal court violated the Rule 5
requirement that he be brought before a federal magistrate judge “without unnecessary
delay.”   Counsel further argues the delay has prejudiced his client in two ways.     First,
he claims the Task Force has had more time to build a case against his client. Second,
he claims that while Ortiz was in State custody, Task Force officers made statements to



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others that Ortiz was a cooperator. He claims those statements have placed Ortiz in fear
for his personal safety and the safety of his family. (See id., pp. 4-5)
         At the hearing, TFO Wagner explained that members of the Tri-State Drug Task
Force work on investigations involving illegal drug activities without regard for the
potential jurisdiction – state or federal – in which any charges might be prosecuted.
Similarly, when the officers make arrests as a result of their investigations, they generally
do not know where the suspects will be charged, or even if they will be charged.
Following an arrest, the officers write up a report and present it to the County Attorney
in the county and state where the arrest occurs. They also may be asked to make a report
to the United States Attorney’s office.             Otherwise, Task Force officers have no
involvement whatsoever in the decision to charge someone, or in what jurisdiction. TFO
Wagner stated he testifies in both state and federal courts, and he estimated that during
the past year, 60% of the cases he has investigated have led to state charges and 40%
have led to federal charges.
         TFO Wagner further testified he did not interview any codefendants in the present
case.    He stated that he made a post-arrest report to the Woodbury County Attorney’s
office and he talked with an Assistant U.S. Attorney about the arrest, but after that time,
he had no further involvement in Ortiz’s case until after Ortiz’s initial appearance in this
court.    The officer further testified he has not mentioned Ortiz’s name to anyone else
identifying him as a cooperator, and to his knowledge no other Task Force officer has
mentioned Ortiz’s name as a cooperator.




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                                               DISCUSSION
        In arguing the 51-day delay between his arrest and his initial appearance in federal
court warrants dismissal of the Indictment, Ortiz relies primarily on Jarrett v. United
States, 423 F.2d 966, 971 (8th Cir. 1970). However, under these facts, Jarrett supports
the Government’s position.            In somewhat analogous circumstances to those involving
Ortiz, the defendant in Jarrett was arrested on June 5, 1956, on state charges, although
his conduct also would have supported federal charges.                       Several days later, he was
charged with violations of federal law, and he had an initial appearance in federal court
on June 12, 1956. While he was in state custody, before the federal charges were filed,
Jarrett made incriminating statements to federal investigators.                 In his pro se application
for post-conviction relief, Jarrett argued his confession somehow was involuntary because
at the time of his arrest, “he could have been arrested without a warrant for federal
violations.” 428 F.2d at 971.
        The Eighth Circuit Court of Appeals characterized Jarrett’s argument as one
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arising under Rule 5(a), Federal Rules of Criminal Procedure,                         and the holdings of
McNabb v. United States, 318 U.S. 332, 63 S. Ct. 608, 87 L. Ed. 819 (1943), and
Mallory v. United States, 354 U.S. 449, 77 S. Ct. 1356, 1 L. Ed. 2d 1479 (1957). The
court found Jarrett’s argument to be unavailing, holding as follows:
                         Rule 5(a) “may be invoked only when an officer makes
                 an arrest under federal law” or, perhaps, when there is
                 evidence indicating that the arrest and detention by the state
                 official were at the request of federal authorities or for the
                 purpose of assisting them. “The rule has no application

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          In its present form, Rule 5(a) provides, “A person making an arrest within the United States must take
the defendant without unnecessary delay before a magistrate judge, or before a state or local judicial officer
as Rule 5(c) provides, unless a statute provides otherwise.” Fed. R. Crim. P. 5(a). Rule 5(c) permits the initial
appearance to be before a state or local judicial officer when a federal magistrate judge is not reasonably
available. Fed. R. Crim. P. 5(c).

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               where, as here, it is clear that at the time the statement was
               made the person has been arrested by local authorities and is
               in their sole custody.” Tucker v. United States, 375 F.2d
               363, 370 (8th Cir. 1967), cert. denied, 389 U.S. 888, 88 S.
               Ct. 128, 19 L. Ed. 2d 189; Young v. United States, 344 F.2d
               1006 (8th Cir. 1965), cert. denied, 382 U.S. 867, 86 S. Ct.
               138, 15 L. Ed. 2d 105; Chapman v. United States, 397 F.2d
               24, 26 (10th Cir. 1968). “A bare suspicion of a ‘working
               arrangement’” is insufficient. Young v. United States, supra,
               344 F.2d at 1010; Tucker v. United States, supra, 375 F.2d
               at 370.
Jarrett, 423 F.2d at 971. See also United States v. Shahryar, 719 F.2d 1522 (11th Cir.
1983) (starting date for speedy trial purposes “is the date that the defendant is delivered
into federal custody. . . . [T]he federal government is not bound by the actions of state
authorities[.]”)
       The court finds that if Ortiz believed he was being held on federal charges, that
belief would have been reasonable. However, the court finds such a belief would not be
relevant to a claim that the Indictment should be dismissed.       Ortiz was in state custody
until December 29, 2004, and Rule 5's requirement that he be brought before a federal
magistrate judge “without delay” did not become applicable until that date.
       The court further finds Ortiz has failed to show any prejudice that resulted from
the delay between his indictment on federal charges on December 9, 2004, and his
transfer to federal custody on December 29, 2004.        He has failed to prove he suffered
prejudice in terms of defending himself on these charges, or that federal officers placed
his and his family’s safety in jeopardy by making improper statements regarding his
cooperation.




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                                     CONCLUSION
      For the reasons discussed above, IT IS RECOMMENDED, unless any party files
objections to this Report and Recommendation as specified below, that Ortiz’s motion to
dismiss be denied.
      Any party who objects to this report and recommendation must serve and file
specific, written objections by no later than March 14, 2005.       Any response to the
objections must be served and filed by March 18, 2005.
      IT IS SO ORDERED.
      DATED this 7th day of March, 2005.




                                         PAUL A. ZOSS
                                         MAGISTRATE JUDGE
                                         UNITED STATES DISTRICT COURT




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